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      888 Prospect Street, Suite 200
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  4   (949) 636-1391 (Phone)
  5   Attorney(s) for Plaintiff Scanning Technologies Innovations, LLC
  6
                      IN THE UNITED STATES DISTRICT COURT
  7                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  8
      SCANNING TECHNOLOGIES           §
  9   INNOVATIONS LLC,                §
                                      §
 10
            Plaintiff,                §            Case No: 3:21-cv-00657-CAB-MDD
 11                                   §
      vs.                             §            PATENT CASE
 12
                                      §
 13   GAFANA ENTERPRISES, INC.,       §            NOTICE OF VOLUNTARY
      d/b/a PURPLEPASS                §            DISMISSAL WITHOUT
 14
                                      §            PREJUDICE
 15         Defendant.                §
      ________________________________§
 16

 17         Plaintiff Scanning Technologies Innovations, LLC (“Plaintiff” and/or “STI”)
 18
      files this Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of
 19

 20
      Civil Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be

 21   dismissed by the plaintiff without order of court by filing a notice of dismissal at any
 22
      time before service by the adverse party of an answer. Accordingly, Plaintiff hereby
 23

 24
      voluntarily dismisses this action against Defendant Gafana Enterprises, Inc. d/b/a

 25   PurplePass without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear
 26
      its own fees and costs.
 27

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                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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  2   Dated: August 25, 2021               Respectfully submitted,
  3
                                           /s/ Stephen M. Lobbin
  4                                        Stephen M. Lobbin
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  9                                        Attorney(s) for Plaintiff Scanning
                                           Technologies Innovations, LLC
 10

 11                            CERTIFICATE OF SERVICE

 12          I hereby certify that on August 25, 2021, I electronically transmitted the
 13   foregoing document using the CM/ECF system for filing, which will transmit the
      document electronically to all registered participants as identified on the Notice of
 14   Electronic Filing, and paper copies have been served on those indicated as non-
 15   registered participants.
                                            /s/ Stephen M. Lobbin
 16                                         Stephen M. Lobbin
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                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
